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                                        EXHIBIT I

                             Vermiculite Asset Sale Agreement




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       VERMICULITE ASSET SALE AGREEMENT

                     October 17, 2011
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                  VERMICULITE ASSET SALE AGREEMENT

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                      VERMICULITE ASSET SALE AGREEMENT

       AGREEMENT dated October 17, 2011, by and between W. R. Grace & Co.-

Conn., a Connecticut corporation (’Seller’), and Vermiculite Acquisition Corp., a

Delaware corporation ("Purchaser’).



                                      WITNESSETH:

       WHEREAS, Seller and its wholly owned Subsidiary, Grace Canada, Inc., an

Ontario corporation ("GC" and collectively with Seller, the "Selling Companies") wish to

sell, and Purchaser wishes to acquire, Selling Companies’ vermiculite business by the

transfer to and assumption of certain assets and liabilities of Selling Companies to and

by Purchaser and/or designated Affiliates of Purchaser ("Purchaser Designees" and

collectively with Purchaser, "Purchasing Companies");

       NOW THEREFORE, in consideration of the mutual covenants herein contained,

Seller and Purchaser hereby agree as follows:



                                       ARTICLE I

                                       Definitions

       1.01 General.       All Article and Section numbers, and Exhibit and Schedule

references, used In this Agreement refer to Articles and Sections of this Agreement, and

Exhibits and Schedules attached hereto or delivered simultaneously herewith, unless

otherwise specifically stated. Any of the terms defined in this Agreement may be used

in the singular or the plural. In this Agreement, unless otherwise specifically stated:

"hereof," "herein," "hereto," "hereunder" and the like mean and refer to this Agreement
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as a whole and not merely to the specific Section, paragraph or clause in which the

word appears; words importing any gender include the other genders; and the term

"including" shall mean "including but not byway of limitation."

         1.02 Defined Terms. For purposes of this Agreement, including the Exhibits

and Schedules, the following defined terms have the meanings set forth in this Section.

         "Affiliate" of any Person shall mean any other Person which, directly or indirectly,

controls or is controlled by or is under common control with such Person. A Person

shall be deemed to ’control," be "controlled by" or be "under common control with’ any

other Person if such Person possesses, directly or indirectly, power to direct or cause

the direction of the management or policies of such Person whether through the

ownership of voting securities or other ownership interests, by contract or otherwise.

         "Ajax Facility" means the facility of GCI located at 294 Clements Road, West

Ajax, Ontario OS 3C6 Canada.

         "Ajax Subject Business Assets" has the meaning given such term in clause (ii) of

the definition of Transferred Assets.

         "Ajax Tolling Agreement" has the meaning given such term in Section 3.04(c).

         "Ancillary Agreements" means the agreements described in Section 3.04.

         "Bankruptcy Court" means the United States Bankruptcy Court for the District of

Delaware.

         "Bankruptcy Proceeding" means In re: W. R. Grace & Co. et al., Debtors,

Chapter 11, Case Nos. 01-1139 et al. (JKF) (Jointly Administered) in the Bankruptcy

Court.

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        "Business Day" means a day that is not a Saturday or Sunday, nor a day on

which banks are generally closed in New York City.

        "Canadian ASA" has the meaning given such term in Section 3.04(a).

        "Canadian Real Property" means the Other Real Property located in Canada.

        "Chapter 11 Plan" means that certain First Amended Joint Plan of Reorganization

in their Chapter 11 Cases, Docket no. 25881 in the Bankruptcy Proceeding, as it may

be further amended, supplemented or otherwise further amended from time to time

and the schedules and exhibits to the forgoing, as they may be In effect from time to

time.

        "Closing" means the actions to be taken by or at the direction of the Parties

described in Sections 3.03 and 3.04.

        "Closing Date" means the date on which the Closing takes place.

        "Closing l&R Amount" has the meaning given such term in Section 4.02.

        "Closing Statement" has the meaning given such term in Section 4.04.

        "Code" means the Internal Revenue Code of 1986, as amended.

        "Confidentiality Agreement" means the confidentiality agreement dated June 23,

2011, between Seller and Dicalite Management Group.

        "Continued Employees" has the meaning given such term in Section 12.01(b).

        "Contract" means any lease, license, purchase order or other contract or

agreement.

        "Damages" has the meaning given such term in Section 14.01(a).

        "Environmental" means relating to pollution or protection of the environment and

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public health and safety.

       "Environmental Law" means and includes all laws, rules, regulations, ordinances,

and orders of any Governmental Authority, as in effect as of the date hereof, relating to

pollution or protection of the environment and public health and safety, including those

relating to the use, generation, storage, treatment, handling, release, or threatened

release of hazardous or toxic substances, whether such laws, etc. are promulgated at

the federal, state or provincial, or local level in the United States or Canada.

       "Excluded Assets" means any and all of Selling Companies’ right, title and

interest in (1) cash and cash items, other than petty cash and deposits with third parties,

(2) refunds of Taxes, (3) amounts receivable from any unit of Seller other than the

Subject Business or from any other Seller Entity, (4) Insurance, claims with respect to

Insurance, and refunds of amounts previously paid or prepaid on account of Insurance,

(5) employee benefit plans and funds maintained by, or in conjunction with, any Seller

Entity, and refunds of amounts previously paid or prepaid amounts on account of such

employee benefit plans and funds, (6) proprietary Information received from a third party

that is subject to a confidentiality agreement that does not permit the transfer of such

Information, (7) records to the extent relating to any of the Excluded Assets or the

Excluded Liabilities, (8), the names "Grace" and "Davison", whether alone or in

combination with each other or with other words, Including In any trade name or trade or

service mark, (9) real property of, and all other property located at, the Ajax Facility,

except for the Ajax Subject Business Assets; (10) bonds and letters of credit, including

any such bonds of letters of credit relating to reclamation obligations and/or mining

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permits; (11) assets of the SCC Business, (12) assets of the fireproofing laboratory

currently located at the South Carolina Real Property, (13) the Seller Pompano Beach

Assets; and (14) any other assets listed on Exhibit 1.02A.

        Excluded Liabilities" means all liabilities and obligations of Selling Companies

with respect to the Subject Business other than the Transferred Liabilities, including (I)

Income Taxes, (ii) payroll Taxes (including related withholding Taxes) and similar Taxes

for all periods ending on or prior to the Closing Date, (iii) amounts payable to any unit of

Seller or to any other Seller Entity, (iv) obligations relating to Insurance, (v) employee

benefit plans and funds; (vi) accounts payable; (vii) product liability and warranty claims

for products sold prior to Closing; (viii) Plan Claims: (ix) any liability for violation by

Selling Companies prior to the Closing of law, governmental rule or order, including any

violation of Environmental Law; (x) any Workers Compensation claim by an employee

or former employee of the Subject Business either before or after the Closing, to the

extent that the injury giving rise to the claim resulted in whole or In part from

employment of such employee or former employee by Selling Companies prior to the

Closing and (xi) any liability for any Environmental remediation required by applicable

law of any condition (other than the presence of asbestiform minerals in or on any of the

buildings or other Improvements that are part of the Subject Business Real Property)

existing on the Closing Date and arising out of the operation of the Subject Business at

the Subject Business Real Property, including any such remediation arising from the

further evaluation by the USEPA described in the Removal Assessment Report

Notification, to the extent that the remediation is of asbestiform minerals contained in

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vermiculite ore or vermiculite concentrate received from Seller’s vermiculite mine in

Libby, Montana. Notwithstanding the foregoing, no obligation for remediation that arises

out of any change in applicable law after the Closing Date shall be deemed an Excluded

Liability.

        "GC" has the meaning given such term in the preamble to this Agreement.

        "Governmental Authority" means an entity exercising executive, legislative,

judicial, regulatory or administrative functions of government, including agencies,

departments, boards, commissions, and other instrumentalities.

        "Income Statements" has the meaning given such term in Section 5.06(a).

        "Income Tax" means any Tax measured (in whole or in part) or imposed upon

income (including any alternative or add-on minimum tax), or franchise tax based on net

income, and any interest and penalties assessed on any such tax or assessment.

        "Insurance" means insurance policies or other insurance coverage.

        "Intellectual Property" or "IP" means any and all of the following:

               (a)    United States and foreign patents, patent applications, and patent

                      disclosures, including all reissues, divisions, continuations,

                      continuations-in part, substitutions, or extensions of any of the

                      foregoing;

               (b)    (I) trademarks, service marks, trade names, brand names, trade

                      dress, logos, and designs, assumed names and other indications of

                      origin, whether registered or unregistered, and any applications or

                      renewals therefor, and (ii) all goodwill symbolized thereby or
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                     associated with clause (I);

              (c)    United States and foreign copyrights, whether registered or

                     unregistered, and any applications therefor or renewals thereof;

                     and

              (d)    inventions, formulae, processes, designs, know-how, show-how,

                     manufacturing know-how, trade secrets, computer software and

                     technical manuals and documentation which are not embodied

                    within subparagraphs (a), (b) and (c).

       "Knowledge" of any individual means the actual knowledge of such individual on

the date of this Agreement or on the Closing Date, as applicable.

       "Knowledge of Seller" means the Knowledge of the appropriate managerial

personnel of the Selling Companies who are in a position to know the information at

issue, including the following employees of the Selling Companies: (a) P.W. Hanlon and

all other Business Development personnel; (b) M.K. Harvey, R.J. Mercer, S. Boss, D.J.

Dowling, R.P. Perez, D.W. Iwaniuk, and all other managerial personnel at the

headquarters of Grace Construction Products in Cambridge, MA, and at the facilities at

the Subject Business Real Property and Ajax; (c) K.E. Ethier, B.E. O’Connell and all

other EH&S personnel; (d) T. Smith and all other Finance personnel; and (e) Kris Venis

and all other HR personnel.

      "Lien" means any mortgage, pledge, security interest, or other lien or

encumbrance.

      "Material Adverse Effect" means a material adverse effect upon the Transferred

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Assets or the Transferred Liabilities, or on the business, condition (financial or

otherwise), operations or results of operations of the Subject Business, taken as a

whole, but excluding (a) economic effects or changes that are generally applicable to

the industries and markets in which the Subject Business operates; (b) general changes

in the United States or Canadian or world financial markets or general economic

conditions; (c) general changes in applicable laws; or (d) the failure, in and of itself, to

win any particular bid or proposal made to a customer (or any cancellation or revocation

of any request for proposal from any customer) or meet any projections.

       "Mining Leases" means the leases listed on Exhibit 1.02E that are identified as

Mining Leases.

       "Mining Permits" has the meaning given such term in Section 3.07(a).

       "Net Asset Statements" has the meaning given such term in Section 5.06(a).

       "Other Real Property" means the real property located In Phoenix, AZ, Pompano

Beach, FL, Winnipeg, MB, and Edmonton, AB, identified in Exhibit 1.02B, at which the

Subject Business operates expanding plants for vermiculite and/or perlite.

       "Parties" means Seller and Purchaser.

       "Permitted Exceptions" means (a) Liens for current Taxes, assessments or other

claims by a Governmental Authority not yet delinquent or the amount or validity of which

is being contested in good faith by appropriate proceedings and for which an

appropriate escrow or security deposit or reserve is established therefor; (b) zoning,

subdivision, building code, entitlement and other land use, construction and

Environmental Laws by a Governmental Authority; (c) easements, rights-of-way,
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licenses, utility agreements, restrictions, and other similar encumbrances of record, and

matters that would be shown on any survey of the Subject Business Real Property,

which, in each case, do not materially diminish the value of or materially interfere with

the continued use of such property (real or personal) or asset used in the Subject

Business consistent with past practice; and (d) such other imperfections in title,

charges, easements, restrictions and encumbrances In each case which do not

materially diminish the value of or materially interfere with the continued use of such

property (real or personal) or asset used in the Subject Business consistent with past

practice.

        "Person" means any individual, partnership, firm, trust, association, company,

limited liability company, corporation, joint venture, unincorporated organization, other

business entity or Governmental Authority.

        "Plan Claims" shall have the meaning ascribed to such term in the Chapter           11
Plan.

        "Purchase Price" hasthe meaning given such term in Section 2.02.

        "Purchaser" has the meaning given such term in the preamble to this Agreement

        "Purchaser Designees" has the meaning given such term in the preamble to this

Agreement.

        "Purchaser Entity" means any of the Purchaser Group.

        "Purchaser Group" means, collectively, Purchaser and Its Affiliates.

        "Purchasing Companies" has the meaning given such term in the preamble to

this Agreement.


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       "Reclamation Obligations" means any and all reclamation and similar obligations

to any Governmental Authority, lessee or other Person with respect to the South

Carolina Property or any property subject to or affected by any of the Vermiculite

Leases, including the Retention Ponds,

       "Removal Assessment Report Notification" means the Removal Assessment

Report Notification dated September 6, 2011, from USEPA to Remedium Group, Inc.

       "Reorganized Seller" means Seller from and after the effective date of its

confirmed Chapter 11 Plan or any other chapter 11 plan of reorganization of Seller that

may be confirmed in the Bankruptcy Proceeding.

       "Retention Ponds" means the retention ponds located on the South Carolina Real

Property.

       "Sale Motion" has the meaning given such term in Section 8.01(a).

       "Sale Order" has the meaning given such term in Section 10.09.

       "SCC Business" means the Seller Entities’ Specialty Construction Chemicals

business unit.

       Scheduled Closing Date" has the meaning given such term in Section 3.01.

       "Seller" has the meaning given such term in the preamble to this Agreement.

       "Seller Entity" means any legal entity of the Seller Group.

       "Seller Group" means, collectively, WRG, Seller and their Subsidiaries.

       "Seller Payment Amount" means one of the amounts specified in       Exhibit 3.07(a)

for the respective Seller Payment Properties.

       "Seller Payment Properties" has the meaning given such term in Section 3.07(a).

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         "Seller Pompano Beach Assets" has the meaning given such term in Section

8.07.

         "Selling Companies" means Seller and Gd.

         "South Carolina Real Property" means the real property in Enoree and Kearney,

South Carolina, identified in Exhibit 1.02C.

         "Subject Business" means Seller’s and/or GCI’s business of mining, milling,

expanding, manufacture, and/or sale of vermiculite, vermiculite concentrate, perlite, and

specialty vermiculite products.

         "Subject Business Contract" means a Contract to which one or both Selling

Companies is a party relating directly and exclusively to the Subject Business, including

the Vermiculite Leases.

         "Subject Business Intellectual Property" means all Selling Companies’ rights in

Intellectual Property that is used or usable exclusively in the Subject Business.

         "Subject Business Real Property means the South Carolina Real Property and

the Other Real Property.

         "Subject Employees" has the meaning given such term In Section 12.01.

         "Subsidiary" of a Person means any other Person in which the first Person

directly or through one or more intermediaries owns securities or other equity interests

representing more than 50% of the voting power of all such securities or other equity

interests.

         "Tax" means any national, federal, state, provincial, local or foreign governmental

tax or assessment, including Income Tax, any payroll or other similar employment tax,

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any sales, use, excise, goods and services, harmonized sales, gross receipts or value

added tax, or any land transfer, land registration or any other tax in respect of real or

personal property, including interest and penalties with respect thereto.

       "Transaction Documents" means this Agreement, the documents to be executed

and delivered at the Closing pursuant to Section 3.03, the Ancillary Agreements and

any other agreements, instruments and documents executed and delivered pursuant to

this Agreement.

       "Transactions" means the transactions contemplated by this Agreement.

       "Transferred Assets" means all right, title and interest of Selling Companies in

and to the assets, properties and rights pertaining directly and exclusively to the

conduct of the Subject Business, and to certain assets of the SCC Business, including

all right, title and interest in and to the following insofar as either pertaining directly and

exclusively to the conduct of the Subject Business, or listed in an Exhibit specified in the

following:

               (I)    the Subject Business Real Property, including any appurtenant

                      mineral rights;

               (ii)   the machinery, equipment, and other personal property located at

                      the Subject Business Real Property, including the items listed in

                      Exhibit 1.02D-1 hereto, and the machinery, equipment and other

                      property located at the Ajax Facility, including the items listed on

                      Exhibit 1.02D-2 hereto (the "Ajax Subject Business Assets");

              (iii)   the Subject Business Intellectual Property, Including the items listed

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                      on Schedule 5.16 as used exclusively In the Subject Business;

             (iv)     inventories of raw materials, work in process, finished goods, spare

                      parts, supplies and packaging;

             (v)      accounts receivable;

             (vi)     prepayments and deposits;

             (vil) rights under the Vermiculite Leases and the other Subject Business

                      Contracts, including the Contracts which are listed on        Exhibit

                      1.02E hereto;

             (viii)   transferable software and data (excluding commercially available

                      software whose transfer requires consent of licensee);

             (ix)     files, customer lists, accounting records, marketing materials and

                      general intangibles; and

             (x)      the assets of the SCC Business listed on Exhibit 1.02F hereto;

but excluding the Excluded Assets.

      "Transferred Liabilities means:

             (i)      all obligations and liabilities under the Subject Business Contracts

                      that are transferred to Purchaser under this Agreement, but only to

                      the extent that those obligations and liabilities are incurred in

                      connection with the performance or non-performance on and after

                      the Closing Date by Purchaser of such Subject Business Contracts;

             (ii)     subject to Seller’s obligations under Section 3.07, all Reclamation

                      Obligations;

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              (iii)   all obligations and liabilities with respect to the Retention Ponds

                      other than those obligations specified in clause (xi) of the definition

                      of Excluded Liabilities;

              (iv)    the obligations and liabilities listed on Schedule 4.02; and

              (v)     obligations regarding vacation and vacation pay as sat forth in

                      Section 1 2.02(iv)(A)(1).

but excluding the Excluded Liabilities.

       "USD" means United States dollars.

       "USEPA" means Region 4 of the United States Environmental Protection

Agency.

       "U.S. Subject Business Real Property" means the South Carolina Real Property

and the Other Real Property located in the United States.

       "Valuation Time" means 12:01 a.m. U.S. Eastern time on the Closing Date.

       "Vermiculite Leases" means the leases of mineral rights listed on Exhibit 1.02E.

       "WRG" means W. R. Grace & Co., a Delaware corporation, of which Seller is a

direct wholly-owned Subsidiary.



                                          ARTICLE 2

                       Sale of Subject Business, Purchase Price

       2.01 Sale of Subject Business. On the terms and subject to the conditions of

this Agreement, Seller shall sell and cause GCI to sell, and Purchaser shall purchase,

the Subject Business as follows: Each of Selling Companies shall transfer their right,

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title and interest in and to the Transferred Assets to Purchaser or its designee(s), free

and clear of all Liens and imperfections In title (except Permitted Exceptions) and in

exchange therefor, Purchasers shall pay the Purchase Price therefor and assume the

Transferred Liabilities,

       2.02 Purchase Price. "Purchase Price" means USD 10,000,000, plus the

excess of the Closing l&R Amount over USD 5,414,000, or minus the excess of USD

5,414,000 over the Closing l&R Amount, as the case may be. The Purchase Price shall

be allocated among the Transferred Assets, and between the Selling Companies and

the Purchasing Companies, as provided in Section 2.03.

       2.03 Purchase Price Allocation.

       (a)     Each Party agrees to prepare and timely file U.S. Internal Revenue

Service Form 8594 (Asset Acquisitioi Statement) in accordance with Section 1060 of

the Code with respect to the Transferred Assets, and analogous filings under Canadian

tax law and to cooperate in every reasonable way with the other Party in the preparation

of such forms and in agreeing upon the relevant allocations in such filings.

       (b)     The Parties agree that the amount of consideration to be paid to GCI in

exchange for the transfer of GCI’s right, title and Interest in and to the Transferred

Assets owned by GCI will be as set forth in the Canadian ASA.



                                        ARTICLE 3

                                          Closing

       3.01 Scheduled Closing Date. The "Scheduled Closing Date" shall be

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December 29, 2011, or such other day as the Parties may agree to in an amendment to

this Agreement executed and delivered in accordance with Section 19.06.

      3.02 Time and Place of Closing, Simultaneity. The Closing shall take place at

10:00 am. local time on the Scheduled Closing Date at the offices of Purchaser, 1 Bala

Avenue, Suite 310, Bala Cynwyd, PA 19004. All of the actions to be taken and

documents to be executed and delivered at the Closing shall be deemed to be taken,

executed and delivered simultaneously, and no such action, execution or delivery shall

be effective until all actions to be taken and executions and deliveries to be effected at

the Closing are complete. The Closing shall be deemed to be effective as of December

31, 2011.

      3.03 Transfers at the Closing -, Payments. At the Closing:

       (a)    Seller shall execute and deliver to Purchaser deeds for the U.S. Subject

              Business Real Property of substantially the same tenor as the deeds

              under which Seller holds the U.S. Subject Business Real Property, subject

             to Permitted Exceptions.

       (b)    Pursuant to the Canadian ASA, GCI shall execute and deliver to

              Purchaser deeds for the Canadian Real Property of substantially the same

              tenor as the deeds under which CCI holds the Canadian Real Property,

              subject to Permitted Exceptions.

       (c)    Selling Companies and Purchasing Companies shall execute and deliver

              to each other bills of sale and assignments and assumptions of the

              Transferred Assets and Transferred Liabilities in the forms of Exhibit

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                3.03(b) hereto, and as contemplated by the Canadian ASA.

          (d)   Purchaser shalt pay to Seller and GCI, on account of the Purchase Price

                and in accordance with Section 2.03 and the Canadian ASA, an aggregate

                amount equal to USD10,000,000 plus or minus Seller’s best estimate of

                the price adjustment relating to the Closing l&R Amount to be calculated

                under Section 4.07, plus any applicable Taxes (the "Estimated Purchase

                Price"). Such payment shall be made by means of wire transfers to

                Seller’s and GCI’s accounts as follows:

Seller:                                     GCI:
Bank: JPMorgan Chase Bank, NA               Bank:
Bank ABA #: 021000021                       Bank [Canadian ID #]:
Bank SWIFT code CHASUS33                    Bank SWIFT code
Bank account name: W. R. Grace &            Bank account name: Grace Canada, Inc.
Co.-Conn.                                   Bank account number:
Bank account number: 016001257              Text message: Funds from [name of
Text message: Funds from [name of           Purchasing Company] re: Vermiculite
Purchasing Company] re: Vermiculite

In additibn, each of Selling Companies and Purchasing Companies shall execute and

deliver, and cause their Affiliates to execute and deliver, such other agreements,

instruments and other documents to effect, confirm or evidence the Transactions as the

other Party shall reasonably request. Each such document shall be reasonably

satisfactory in form and substance to the Person to whom such document is delivered,

but shall contain no representations, warranties, covenants or agreements other than

those effecting, confirming or evidencing the Transactions.

          3.04 Ancillary Agreements. At the Closing, each of the following agreements

shall be executed and delivered by the Parties:

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       (a)    Canadian ancillary asset sale agreement with respect to the Canadian

Real Property and the other Transferred Assets owned by GCI, substantially in the

form(s) of Exhibit 3.04(a) (the "Canadian ASK);

       (b)    Transition Services Agreement(s) substantially in the form of Exhibit

3.04(b), under which Seller and GCI will provide certain services to the Purchasing

Companies for the Subject Business on a transitional basis after the Closing;

       (c)    Tolling Agreement substantially in the form of Exhibit 3.04(c), under

which GCI will toll manufacture products for the Subject Business at the Ajax Facility

(the "Ajax Tolling Agreement"), which will include a lease of the Ajax Subject Business

Assets for a nominal rent;

       (d)    SCC Agreement substantially in the form of Exhibit 3.04(d), under which

Purchaser Entities will toll manufacture products and provide related services for the

SCC Business at the Other Real Property.

       (e)    Fire Protection Laboratory Lease Agreement in the form of Exhibit

3.04(e), under which Seller will lease space at the South Carolina Real Property for its

Fire Protection Laboratory, including utilities, parking and security.

       3.06 ClosinQ Prorations. At Closing, all real estate taxes for the Subject

Business Real Property, and all other water, sewer, gas, other utility services, and other

charges and fees customarily prorated and adjusted in connection with the purchase

and sale of real estate, shall be prorated as of the Closing Date, Selling Companies

shall reimburse Purchasing Companies or Purchasing Companies shall reimburse

Selling Companies, as the case may be, the net amount owed promptly following the

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Closing.

       3.07 Seller Reclamation Payments.

       (a)    With respect to each of the properties covered by the Mining Leases

identified on Exhibit 3.07(a)(collectively, the "Seller Payment Properties"), promptly

after (I) the issuance to Purchaser of the required permit or permits for mining

operations at a particular Seller Payment Property (the "Mining Permits"), (ii) the posting

of any bonds required in connection with such Mining Permits, and (iii) written notice to

Seller of such issuance and posting, Seller shall promptly pay to Purchaser the Seller

Reclamation Amount listed on Exhibit 3.07(a) for such particular Seller Payment

Property (net of any amounts theretofore paid by Seller after the Closing Date for

Reclamation Obligations for such particular Seller Payment Property) in Immediately

available funds by wire transfer to an account designated by Purchaser. Seller may set

off against its obligations under this Section with respect to such particular Seller

Payment Property, any indemnity obligations of Purchaser under Section 14.03(a)(v) or

(vi)wlth respect to such particular Seller Payment Property.

       (b)    Except for its obligations under this Section 3.07, Seller shall have no

obligation with respect to the Reclamation Obligations.

       3.08 Further Assurances. At any time and from time to time after the Closing,

at the request and expense of either Party, the other Party shall execute and deliver, or

cause to be executed and delivered, all such deeds, assignments, and other

documents, and take or cause to be taken all such other actions, as the requesting

Party reasonably deems necessary or advisable in order to complete, perfect or

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evidence any of the Transactions. Any material out-of-pocket expenses related to any

such request shall be paid by the requesting Party.



                                       ARTICLE 4

                     Purchase Price, Post-Closing Adjustments

        4.01 Closing of Books. Seller shall close the books and related accounting

records, on a going concern basis, of Seller and GCI (but only to the extent that they

relate to the Subject Business) as of the Valuation Time, and take a physical count of

the Subject Business inventories at or within two weeks prior to such time. Such

Inventory count shall be taken in accordance with the inventory-taking procedures

described in Schedule 4.01. Representatives of Purchaser may observe the taking of

such inventory, and Purchaser shall provide Seller with such assistance as Seller shall

reasonably request in connection with such closing of the books and records.

        4.02 Closing AR Amount. "Closing l&RAmount" means the aggregate amount,

as of the Valuation Time, of all inventories and accounts receivable of the Subject

Business included in the Transferred Assets, computed in accordance with Section

4.03.

        4.03 Computation of Closing l&R Amount. The Closing l&R Amount shall be

determined in U.S. dollars on a going concern basis, in accordance with the accounting

practices and procedures (applied consistently) set forth in Schedule 4.03.

        4.04 Closing Statement. As soon as reasonably practicable but in no event

more than sixty calendar days after the Closing, Seller shall deliver to Purchaser a

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statement setting forth Seller’s determination of the Closing l&R Amount (the "Closing

Statement").

       4.05 Acceptance. If Purchaser does not object to the Closing l&R Amount

shown on the Closing Statement delivered by Seller, by written notice of objection

delivered to Seller within thirty calendar days after Purchaser’s receipt of such

statement, describing in reasonable detail each of its proposed adjustments to Seller’s

determination thereof, then the Closing l&R Amount shown on the Closing Statement

shall be final and binding on the Parties.

       4.06 Non-Acceptance, Resolution of Disputes.

       (a)     If Purchaser does object to the Closing l&R Amount shown on the Closing

Statement, then Purchaser and Seller shall promptly endeavor to agree upon the proper

amount of the items in dispute. If a written agreement settling any disputed items has

not been reached within thirty calendar days after the date of receipt by Seller from

Purchaser of Purchaser’s notice of objection thereto, then either Seller or Purchaser

may, by notice to the other Party, submit for determination by arbitration in accordance

with this Section the question of what adjustments, If any, must be made to Seller’s

determination of such amount in order for it to be determined in accordance with the

provisions of this Agreement. At the time of such submission, the Parties shall propose

in writing their respective calculations of the Closing I&R amount.

       (b)     Any such determination by arbitration shall be made by an accounting firm

to be agreed upon by the Parties other than their respective auditors (the "Arbitrator")

and shall be final and binding on the Parties and their Affiliates.

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       (c)     The fees and expenses of the Arbitrator for any determination under this

Article shall be shared as follows: Seller shall bear that portion thereof equal to the total

amount of such fees and expenses multiplied by a fraction, the denominator of which

shall be the difference between the Closing l&R Amount as proposed by Purchaser and

the Closing l&R Amount as proposed by Seller, and the numerator of which shall be the

difference between the Closing l&R Amount as determined by the Arbitrator and the

Closing l&R Amount as finally proposed by Seller. Purchaser shall bear the remainder

of such fees and expenses.

       (d)     Nothing herein shall be construed to authorize or permit the Arbitrator to

determine (i) any question or matter whatsoever under or in connection with this

Agreement or any other Transaction Document except the determination of what

adjustments, if any, must be made in one or more of the items reflected in the Closing

Net Asset Amount as shown on the Closing Statement delivered by Seller in order for

the Closing Net Asset Amount to be determined in accordance with the provisions of

this Agreement and (ii) a Closing Net Asset Amount that is not in the range between

and including the final proposals of Seller and Purchaser. Nothing herein shall be

construed to require the Arbitrator to follow any rules or procedures of any arbitration

association.

       4.07 Payment of Adjustments.              Promptly after the Closing Current Asset

Amount has been finally determined, Seller shall deliver to Purchaser a statement of the

Purchase Price determined in conformity with the Closing Current Asset Amount as

finally determined by the terms of this Agreement. If the Purchase Price as so

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determined exceeds the amount paid at the Closing with respect thereto, Purchaser

shall pay the amount of the excess to Selling Companies. If the Purchase Price as so

determined is less than the amount paid at the Closing with respect thereto, Selling

Companies shall refund the amount of the overpayment to Purchaser. If the net amount

of the adjusting payment Is in excess of USD 100,000, then interest shall be paid on the

entire amount of the net adjusting payment, from and including the Closing Date to but

not including the date of payment, at a floating rate per annum equal to the U.S. prime

rate, as reported by The Wall Street Journal, in effect from time to time during the period

from the Closing Date until the date of payment. Such payments to or refunds by

Selling Companies, and any such interest paid to or by Selling Companies, shall be paid

to or by the Selling Parties in accordance with the extent to which the changes in the

assets and liabilities of the respective Selling Companies contributed to such payments

or refunds.



                                       ARTICLE 5

                       Seller’s Representations and Warranties

       Seller represents and warrants to Purchaser as follows:

       5.01 Corporate Organization and Existence. Each Selling Company is a

corporation duly organized and validly existing under the laws of its jurisdiction of

incorporation as set forth in the preamble to this Agreement.

       5.02 Corporate Power. Each Selling Company has full corporate power to

enter into each Transaction Document to which it is or will be a party and perform its

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obligations thereunder.

       5,03 Authorization; Consents.

       (a)    The execution and delivery by each Selling Company of the Transaction

Documents to which it is or will be a party and its performance of its obligations

thereunder have been duly authorized by all required corporate action.

       (b)    Except for Bankruptcy Court approval and consents under the Subject

Business Contracts, and except as set forth in Schedule 5.03, no registration,

qualification, or filing with, or consent of, any Governmental Authority or other third party

is required for Seller’s execution and delivery of this Agreement or its consummation of

the Transactions.

       504 Execution and Delivery. Except as specified in               Schedule 5.04, and

subject to the approval of the Bankruptcy Court In the Bankruptcy Proceeding, (a) Seller

has duly and validly executed and delivered this Agreement, and the other Transaction

Documents to which each Selling Company is or will be a party, when executed and

delivered, will be duly and validly executed and delivered by such Selling Company; and

upon such execution and delivery, assuming the due authorization, execution and

delivery thereof by the other parties thereto, each Transaction Document to which a

Selling Company Is a party shall be the legal, valid and binding obligation of such

Selling Company, enforceable against such Selling Company in accordance with its

terms, subject to bankruptcy, insolvency, reorganization, moratorium, fraudulent transfer

and similar laws of general applicability relating to or affecting creditors’ rights and to

general equitable principles (whether in equity or at law) and to general principles

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affecting the enforceability of indemnities.

       5.05 No Conflict. Except as specified in Schedule 5.05, and subject to the

approval of the Transactions by the Bankruptcy Court in the Bankruptcy Proceeding, the

execution and delivery by each Selling Company of the Transaction Documents to

which it is or will be a party, and its performance of its obligations hereunder, do not and

will not (a) conflict with its certificate or articles of incorporation or by-laws; or (b) result

in any violation or breach of any of the provisions of, or constitute a default under, any

law or regulation, judgment, order, decree, or Contract to which it is a party or by which

it Is bound, which violation, breach or default would adversely affect its ability to execute

and deliver this Agreement or any other Transaction Document to which it is or will be a

party or perform its obligations hereunder or thereunder.

       5.06 Financial Statements; Subsequent Events.

       (a)     Schedule 5.06(a) contains (a) unaudited statements of net assets of the

Subject Business as of December 31, 2010, and June 30, 2011 (the "Net Asset

Statements") and unaudited statements of income, of the Subject Business for the year

ended December 31, 2010, and the six months ended June 30, 2011 (the "Income

Statements"). The Net Asset Statements and Income Statements fairly present, in all

material respects, the financial position of the Subject Business with respect to the

items contained thereon, as of their respective dates, and the results of operations of

the Subject Business for such periods.

       (b)     Except as set forth in Schedule 5.06(b), to the best Knowledge of Seller,

since June 30, 2011, there has not occurred any event specific to the Subject Business

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that materially and adversely affects the financial position or results of operations of the

Subject Business taken as a whole.

       5.07 Tax Matters. With respect to Taxes arising out of or related to the Subject

Business or the Transferred Assets, except as set forth in Schedule 5.07:

       (a)    There are no Tax Liens on the Subject Business or the Transferred Assets

other than Liens that are Permitted Encumbrances.

       (b)    At no time during the past three years has a taxing authority, In a

jurisdiction in which a Selling Company does not currently file Tax returns, asserted that

such Selling Company has an obligation to file a Tax return and pay Taxes with respect

to the Subject Business or the Transferred Assets.

       (c)    No events have occurred relating to the Subject Business or the

Transferred Assets that could impose on Purchaser any transferee liability relating to

Taxes, other than such liability arising by operation of law.


       5.08 Real Property and Transferred Assets.

       (a)     Exhibit 1.02C sets forth a true and accurate list of the Subject Business

Real Property. The Subject Business Real Property constitutes all the owned real

property (other than the Ajax Real Property) used in the mining and manufacturing

operations of the Subject Business.

       (b)     Exhibit 1.02E sets forth a true and accurate list of the Vermiculite Leases.

The Vermiculite Leases constitute all the leased mineral rights of the Subject Business

(excluding any rights under leases as to which mining has been terminated).



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       (c)    Seller or GCI has good and valid title to each of the Transferred Assets.

Except as otherwise specified in Schedule 5.08(c) (i) the Transferred Assets are not

subject to any Lien or imperfection in title except Permitted Exceptions.

       (d)    Except as set forth in Schedule 5.08(d) and except for assets used

indirectly or non-exclusively in the Subject Business of which the Ancillary Agreements

do not provide the benefit, the Transferred Assets, together with the rights and services

provided to Purchasers under the Ancillary Agreements, will provide Purchasers with

ownership of or, through the Ancillary Agreements, the benefit of assets that will enable

the Purchasing Companies to conduct the Subject Business upon the Closing,

substantially as it has been conducted prior to the Closing.

       (e)    To the best Knowledge of Seller, Seller has good and valid mining rights

to mine vermiculite at all of the sites covered by the Vermiculite Leases and on the

South Carolina Real Property. GCI owns no mining property, and conducts no mining

business, that is used in or part of the Subject Business,

       (f)    To the best Knowledge of Seller, there are neither any (I) applications,

ordinances, petitions, resolutions, or other matters pending before any governmental

authority having jurisdiction to act on zoning changes that would prohibit or make

nonconforming the use of any of the Subject Business Real Property as currently used

nor (ii) any pending or threatened eminent domain, compulsory purchase, or demolition

proceedings, or proposed sale in lieu thereof.

       (g)    Other than as disclosed in Section 5.20 or Schedule 5.08(g), to the best

Knowledge of Seller, there is no asbestos or any hazardous or toxic materials or

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substances in any form present or contained in any of the mines on the Subject

Business Real Property or covered by the Vermiculite Leases, or in any of its products

that are in process or contained in inventory, or any asbestos contained (whether

encapsulated or not) in any form in any buildings located on the Subject Business Real

Property.

       5.09 Liticiation; Investigations.

       (a)    Except as set forth in Schedule 5.09(a), to the best Knowledge of the

Seller, there are no actions, suits or proceedings pending or threatened against either

Selling Company or the Subject Business.

       (b)    Except as set forth in Schedule 5.09(b), to the best Knowledge of the

Seller, there are no pending or threatened governmental investigations of the Subject

Business.

       5.10 Insurance.       Schedule 5.10         summarizes the Insurance and bonds

maintained by each Selling Company exclusively for the Subject Business. Such

Insurance and bonds and rights therein are not part of the Transferred Assets, and the

obligations thereunder are not part of the Transferred Liabilities.

       5.11 Contracts.      Exhibit 1.02E lists among other items the following Subject

Business Contracts (excluding purchase orders and Vermiculite Leases) (a) each

Contract that both (1) has a term of more than one year and cannot be canceled by the

appropriate Selling Company without penalty upon notice of one year or less, and (2)

under which it is reasonably expected that the Subject Business will make expenditures

or obtain receipts of more than USD 10,000 per year; (b) each sales representative,

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sales agent or distributor Contract; (c) each agreement for barter or exchange of goods

or services; (d) employment or consulting Contract (other than standard form

employment agreements and Contracts for employment at will); (e) each Contract with

former employees of the Subject Business (f) each contract with any Affiliate of Seller or

agreement otherwise not negotiated at ’arm’s length", and (g) each Contract that limits

the right of Seller to compete, or to sell or distribute products, in any territory, including

exclusive sale agreements. To the best Knowledge of Seller, each such Contract and

each of the Vermiculite Leases is in full force and effect, no party thereto is in material

breach thereof, and no party thereto has given notice of, or threatened, termination

thereof. Seller has heretofore delivered or made available to Purchaser complete

copies of all such Contracts as currently in effect.The Contracts listed in Exhibit 1.02E

lists all the material Subject Business Contracts other than purchase orders..

       5.12 Labor and Employment.

       (a)     There is no collective bargaining agreement or other similar Contract with

a labor union or similar organization covering any Subject Employee. A collective

bargaining agreement covers certain workers who devote part of their time to the

Subject Business at the Ajax Facility, but who are not Subject Employees.

       5.13 Employee Benefit Plans.           Schedule 513 lists each written employee

benefit plan (as defined in Section 3(3) of the Employee Retirement Income Security

Act) of the Selling Companies, which as of the date hereof covers any Subject

Employee.

       5.14 Environmental Compliance. Except as set forth in Schedule 5.14, to the

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    best Knowledge of the Seller:

           (a)    The Subject Business is in compliance In all material respects with all

    applicable Environmental Laws, including any dealing with air quality, inventory,

    emissions, wastewater disposal, groundwater contamination or asbestos abatement.

           (b)    Neither Seller nor GCI has been identified as a potentially responsible

    party under the Comprehensive, Environmental Response, Compensation and Liability

    Act of 1980, as amended, or any comparable state or local law or Canadian law, with

    respect to the operation of the Subject Business or the Transferred Assets.

           (c)    None of the Subject Business Real Property is currently listed on the

    National Priorities list pursuant to CERCLA or any similar publicly available listing under

    comparable state law.

           (d)    Except as set forth on Schedule 5.14(d), to the best Knowledge of Seller,

    there is no Environmental remediation or asbestos abatement in progress, currently

    being ordered or threatened to be ordered by any Governmental Authority under

    applicable Environmental Law, at the Subject Business Real Property.

           (e)    Schedule 5.14(e)      lists each material Environmental study, survey,

    assessment, or report (including Phase I and Phase II reports) produced by or on behalf

    of or provided to the Selling Companies during the last five years relating to the Subject

    Business, including any of the foregoing relating to the presence of asbestos in or on

    any of the Transferred Assets, or to air quality, inventory, emissions and wastewater

    discharge, in or on any of the Transferred Assets. Ongoing periodic environmental

    monitoring and testing is conducted for the Subject Business, and the existing

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